                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

INTERNATIONAL BUSINESS MACHINES )
CORPORATION,                    )
                                )
                  Plaintiff,    )
                                ) Civil Action No. _____________
           v.                   )
                                ) JURY TRIAL DEMANDED
EXPEDIA, INC., EXPEDIA, INC.,   )
HOMEAWAY.COM, INC.,             )
HOTELS.COM L.P.,                )
HOTWIRE, INC.,                  )
ORBITZ WORLDWIDE, INC.,         )
ORBITZ, LLC, AND                )
TRAVELSCAPE LLC                 )
                                )
                  Defendants.   )

                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff International Business Machines Corporation (“IBM”), for its Complaint for

Patent Infringement against Expedia, Inc., Expedia, Inc., Homeaway.com, Inc., Hotels.com L.P.,

Hotwire, Inc., Orbitz Worldwide, Inc., Orbitz, LLC, and Travelscape LLC (collectively

“Defendants”) alleges as follows:

                                      INTRODUCTION

       1.   IBM is a world leader in technology and innovation. IBM spends billions of dollars

each year on research and development, and those efforts have resulted in the issuance of more

than 60,000 patents worldwide. Patents enjoy the same fundamental protections as real property.

IBM, like any property owner, is entitled to insist that others respect its property and to demand

payment from those who take it for their own use. Defendants have built their business model on

the use of IBM’s patents. Moreover, despite IBM’s repeated attempts to negotiate, Defendants

refuse to negotiate a license. This lawsuit seeks to stop Defendants from continuing to use

IBM’s intellectual property without authorization.

                                                1
                                    NATURE OF THE CASE

          2.   This action arises under 35 U.S.C. § 271 for Defendants’ infringement of IBM’s

United States Patent Nos. 5,796,967 (the “’967 patent”), 7,072,849 (the “’849 patent”),

5,961,601 (the “’601 patent”), and 7,631,346 (the “’346 patent”) (collectively the “Patents-In-

Suit”).

                                          THE PARTIES

          3.   Plaintiff IBM is a New York corporation, with its principal place of business at 1

New Orchard Road, Armonk, New York 10504.

          4.   Defendant Expedia, Inc. is a Delaware corporation (“Expedia-DE”) with a principal

place of business at 333 108th Avenue NE, Bellevue, Washington 98004. Expedia-DE may be

served through its registered agent for service, National Registered Agents, Inc., 160 Greentree

Dr. Suite 101, Dover, DE 19904. Expedia-DE provides online travel reservation and related

services to consumers and local partners directly through the websites at www.expedia.com and

through the Expedia mobile applications.

          5.   Expedia-DE also provides online travel reservation and related services to

consumers through its subsidiaries: Expedia, Inc., Homeaway.com, Inc., Hotels.com L.P.,

Hotwire, Inc., Orbitz Worldwide, Inc., Orbitz, LLC, and Travelscape LLC (collectively, the

“Expedia Subsidiaries”). Expedia, Inc., Homeaway.com, Inc., Hotels.com L.P., Hotwire, Inc.,

Orbitz Worldwide, Inc., Orbitz, LLC, and Travelscape LLC are wholly owned and controlled

subsidiaries of Expedia-DE. According to the Form S-4 filed by Expedia-DE on November 16,

2017, Expedia-DE has at least eighteen subsidiaries that are incorporated or organized in

Delaware, including Homeaway.com, Inc., Hotwire, Inc., Orbitz Worldwide, Inc., and Orbitz,

LLC. A copy of Expedia-DE’s November 16, 2017 S-4 is attached as Exhibit A.

          6.   Expedia-DE and the Expedia Subsidiaries belong to a corporate family that is

                                                 2
comprised of affiliated companies that offer travel-related services in this District. Expedia-DE

and four of the Expedia Subsidiaries are incorporated in Delaware.

       7.   Defendant Expedia, Inc. is a Washington corporation (“Expedia-WA”) with a

principal place of business at 333 108th Avenue NE, Bellevue, Washington 98004. Expedia-WA

may be served through its registered agent for service, National Registered Agents, Inc., 711

Capitol Way South Suite 204, Olympia, WA, 98501. Expedia-WA is a wholly-owned subsidiary

of Expedia-DE, is controlled by Expedia-DE, and is an agent of Expedia-DE.

       8.   Expedia-DE and Expedia-WA (collectively “Expedia”) operate as single entity.

Expedia® is one of Expedia-DE’s “travel brands.”1 According to Expedia-DE’s 2016 Form 10-K

filed with the SEC, Expedia-DE’s “technology platforms” support Expedia-DE brands, including

expedia.com. A copy of Expedia-DE’s 2016 Form 10-K has been attached as Exhibit B. The

webpage https://www.expedia.com lists “Expedia, Inc.” on its landing page without

distinguishing between Expedia-DE and Expedia-WA.            A copy of the landing page for

expedia.com has been attached as Exhibit C. Expedia provides online travel reservation and

related services to consumers and local partners directly through the websites at

www.expedia.com and through the Expedia mobile applications.

       9.   Expedia-DE and Expedia-WA share the same business headquarters address,

principal executive office address, and certain directors and executive officers. Expedia-DE and

Expedia-WA are identified on promotional material as a single entity, Expedia, Inc. Expedia-DE

and Expedia-WA operate as a single company during litigation and identify the single entity

Expedia, Inc. as both a Delaware corporation and a Washington corporation.2



1
 See Expedia-DE’s 2016 Form 10-K at 1.
2
 See Defendant Expedia Inc.’s Answer, Affirmative Defenses, and Counterclaims to Plaintiff’s
First Amended Complaint for Patent Infringement and Demand for Jury Trial ¶ 2, ¶ 121,
                                               3
       10. Defendant Homeaway.com, Inc. is a Delaware corporation (“Homeaway”) with a

principal place of business at 1011 West 5th Street, Suite 300, Austin, Texas 78703. Homeaway

may be served through its registered agent for service National Registered Agents, Inc., 160

Greentree Dr. Suite 101, Dover, DE 19904. Homeaway provides listings for Home rentals,

reservations, and related services to consumers and local partners through the website

www.homeaway.com and through the Homeaway mobile applications. Homeaway is a wholly-

owned subsidiary of Expedia-DE and, on information and belief, is controlled by Expedia-DE

and is an agent of Expedia-DE.

       11. On     information    and belief,   Expedia-DE offers     the   website   located   at

http://www.homeaway.com. Homeaway is one of Expedia-DE’s “travel brands.”3 According to

Expedia-DE’s 2016 Form 10-K filed with the SEC, Expedia-DE’s “technology platforms”

support its brands, including Homeaway. On information and belief, Homeaway and Expedia-

DE operate as a single entity.

       12. Defendant Hotels.com L.P. is a Texas limited partnership (“Hotels.com”) with a

principal place of business at 5400 Lyndon B Johnson Freeway #500, Dallas, TX, 75240.

Hotels.com may be served through its registered agent for service, National Registered Agents,

Inc., 1999 Bryan Street, Suite 900, Dallas, Texas 75201. Hotels.com provides online hotel

reservation and related services to consumers and local partners through the website

www.hotels.com and through the Hotels.com mobile applications. Hotels.com is a wholly-

owned subsidiary of Expedia-DE and, on information and belief, is controlled by Expedia-DE,



Ameranth, Inc. v. Expedia, Inc., Case No. 3:12-cv-01654-DMS-WVG (S.D. Cal. Oct. 4, 2013)
(D.I. 38) (“Expedia admits that it is a Washington corporation . . . .”) (“Expedia is a Delaware
corporation.”). A copy of the Answer to the First Amended Complaint has been attached as
Exhibit D.
3
  Expedia-DE’s 2016 Form 10-K at 1.
                                               4
and is an agent of Expedia-DE.

       13. Expedia-DE         offers   the   websites   located   at   http://www.hotels.com       and

http://www.hotels.com/mobile.4         Hotels.com is one of Expedia-DE’s “travel brands.”5

According to Expedia-DE’s 2016 Form 10-K filed with the SEC, Expedia-DE’s “technology

platforms” support its brands, including Hotels.com. On information and belief, Hotels.com and

Expedia-DE operate as a single entity.

       14. Defendant Hotwire, Inc. is a Delaware corporation (“Hotwire”) with a principal

place of business at 655 Montgomery Street Suite 600, San Francisco, California 94111.

Hotwire may be served through its registered agent for service, National Registered Agents, Inc.,

160 Greentree Drive Suite 101, Dover Delaware 19904.               Hotwire provides online travel

reservation and related services to consumers and local partners through the website

www.hotwire.com and through its Hotwire mobile applications. Hotwire is a wholly-owned

subsidiary of Expedia-DE and, on information and belief, is an agent of Expedia-DE and is

controlled by Expedia-DE.

       15. On     information     and belief,    Expedia-DE offers      the   website    located    at

http://www.hotwire.com.       Hotwire is one of Expedia-DE’s “travel brands.”6          According to

Expedia-DE’s 2016 Form 10-K filed with the SEC, Expedia-DE’s “technology platforms”

support its brands, including Hotwire. On information and belief, Hotwire and Expedia-DE

operate as a single entity.



4
  See Expedia, Inc.’s Answer, Defenses, and Counterclaims ¶ 6, EMG Technology, LLC v.
Expedia, Inc., C.A. 6:12-cv-505 (E.D. Tex Oct. 8, 2012) (D.I. 11). A copy of the Expedia, Inc.’s
Answer, Defenses, and Counterclaims has been attached as Exhibit E.
5
  See Defendant Expedia, Inc.’s Answer and Defenses ¶ 12, Metasearch Systems, LLC v.
Expedia, Inc. et al., No. 1:12-cv-01188-LPS (D. Del Dec. 7, 2012) (D.I. 12). A copy of Expedia,
Inc.’s Answer and Defenses has been attached as Exhibit F.
6
  Expedia-DE’s 2016 Form 10-K at 1.
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         16. Defendant Orbitz Worldwide, Inc. is a Delaware corporation with a principal place

of business at 500 W Madison Street, Suite 1000, Chicago, Illinois 60661. Orbitz Worldwide,

Inc. may be served through its registered agent for service, National Registered Agents, Inc., 160

Greentree Drive Suite 101, Dover, Delaware 19904. Orbitz Worldwide, Inc. provides online

travel reservation and related services to consumers and local partners through the website

www.orbitz.com and through the Orbitz mobile applications.         Orbitz Worldwide, Inc. is a

wholly-owned subsidiary of Expedia-DE and, on information and belief, is an agent of Expedia-

DE and is controlled by Expedia-DE.

         17. Defendant Orbitz, LLC is a Delaware limited liability company with a principal

place of business at 500 W Madison Street, Suite 1000, Chicago, Illinois 60661. Orbitz, LLC

may be served through its registered agent for service, National Registered Agents, Inc., 160

Greentree Drive Suite 101, Dover, Delaware 19904.          Orbitz, LLC provides online travel

reservation and related services to consumers and local partners through the website

www.orbitz.com and through the Orbitz mobile applications. Orbitz, LLC is a wholly-owned

subsidiary of Expedia-DE and, on information and belief, is an agent of Expedia-DE, and is

controlled by Expedia-DE.

         18. On   information   and belief,    Expedia-DE offers      the   website   located   at

http://www.orbitz.com. Orbitz, LLC and Orbitz Worldwide, Inc. (collectively “Orbitz”) form

one of Expedia-DE’s “travel brands.”7 According to Expedia-DE’s 2016 Form 10-K filed with

the SEC, Expedia-DE’s “technology platforms” support its brands, including Orbitz.              On

information and belief Orbitz and Expedia-DE operate as a single entity.

         19. Defendant Travelscape LLC is a Nevada limited liability company (“Travelocity”)



7
    Expedia-DE’s 2016 Form 10-K at 1.
                                                6
with a principal place of business at 10190 Covington Cross Drive # 200, Las Vegas, NV 89144.

Travelocity may be served through its registered agent for service, National Registered Agents,

Inc. of NV, 701 South Carson Street Suite. 200, Carson City, NV 89701. Travelocity provides

online travel reservation and related services to consumers and local partners directly through its

website www.travelocity.com and through the Travelocity mobile application. Travelocity is a

wholly-owned subsidiary of Expedia-DE and, on information and belief, is an agent of Expedia-

DE, and is controlled by Expedia-DE.

         20. On   information    and belief,   Expedia-DE offers       the   website   located   at

http://www.travelocity.com. Travelocity is one of Expedia-DE’s “travel brands.”8 According to

Expedia-DE’s 2016 Form 10-K filed with the SEC, Expedia-DE’s “technology platforms”

support its brands, including Travelocity. On information and belief, Travelocity and Expedia-

DE operate as a single entity.

         21. On information and belief, Expedia-DE, Expedia-WA, Travelocity, Hotels.com,

Orbitz, Homeaway, and Hotwire share certain directors and executive officers.

         22. According to Expedia-DE’s 2016 Form 10-K filed with the SEC, Expedia-DE’s

travel brands include: Expedia.com®; Hotels.com®; Orbitz Worldwide; HomeAway®;

Travelocity®; and Hotwire®. Expedia-DE “operate[s] several technology platforms that support

[its] brands.” “The Brand Expedia technology platform supports [its] full-service and multi-

product brands, including Brand Expedia, Orbitz, Travelocity . . . as well as certain parts of the

Hotwire brand.”     “The Hotels.com technology platform supports [its] hotel-only offering,

including Hotels.com Worldwide . . . .” “In addition, [Expedia-DE] operate[s] . . . HomeAway,

[its] vacation rentals platform . . . .” Through Expedia-DE’s control of the various technology



8
    Expedia-DE’s 2016 Form 10-K at 1.
                                                7
platforms underlying the operations of Defendants’ websites and mobile applications, Expedia-

WA, Homeaway, Hotels.com, Hotwire, Orbitz, and Travelocity are controlled and directed by

Expedia-DE.

       23. Expedia-WA, Homeaway, Hotels.com, Hotwire, Orbitz, and Travelocity are

subsidiary guarantors for various notes of Expedia-DE, including but not limited to the notes

referenced in the Form S-4 filed by Expedia-DE on November 16, 2017.

       24. In the Form S-4 filed by Expedia-DE on November 16, 2017, the same person,

Robert J. Dzielak, signed on behalf of all of the subsidiary guarantors, including Expedia-WA,

Homeaway, Hotels.com, Hotwire, Orbitz, and Travelscape, as well as for Expedia-DE.

       25. According to the Form S-4 filed by Expedia-DE on November 16, 2017, Robert J.

Dzielak is the Executive Vice President, General Counsel, and Secretary of Expedia-DE,

Expedia-WA, Homeaway, Hotels.com, Hotwire, Orbitz, and Travelocity.

       26. On information and belief, Expedia-DE is the majority stock holder or controlling

member for all of the additional Defendants identified in this lawsuit.

       27. On information and belief, Expedia-DE dominates, controls, and receives all

financial benefits from Expedia-WA, Homeaway, Hotels.com, Hotwire, Orbitz, and Travelocity.

                                JURISDICTION AND VENUE

       28. IBM incorporates by reference paragraphs 1-27.

       29. This action arises under the patent laws of the United States, including 35 U.S.C. §

271 et seq. The jurisdiction of this Court over the subject matter of this action is proper under 28

U.S.C. §§ 1331 and 1338(a).

       30. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c) and 1400(b).

Defendants conduct business in Delaware, by at least offering for sale and selling products and

services through their websites and mobile applications, which are accessible in Delaware, and
                                                 8
because infringement has occurred and continues to occur in Delaware.

       31. Venue is proper because Expedia-DE, Homeaway, Hotwire, and Orbitz are entities

organized under the laws of Delaware and reside in Delaware for purposes of venue under 28

U.S.C. §1400(b).

       32. Venue is proper because Expedia-WA, Travelocity, and Hotels.com are agents and

alter-egos of Expedia-DE, are completely controlled and dominated by Expedia-DE, and are

subsidiaries of Expedia-DE. Expedia-DE and subsidiaries of Expedia-DE, including Expedia-

WA, Travelocity, and Hotels.com are part of a corporate family that offers travel-related services

in this District, and they operate as a single company. For example, Expedia-DE and Expedia-

WA operate as a single company during litigation and identify the single entity, “Expedia, Inc.,”

as both a Delaware corporation and a Washington corporation. Expedia-DE or subsidiaries of

Expedia-DE control or otherwise direct and authorize the activities and operations of Expedia-

WA, Travelocity, and Hotels.com. For those reasons and because of the circumstances set forth

in paragraphs 1-27, venue is proper as to Expedia-WA, Travelocity, and Hotels.com.

       33. Venue is also proper as to Expedia-WA because Expedia-WA has committed acts of

infringement in the District and has a regular and established place of business in the state of

Delaware, at least through Expedia-WA’s wholly owned subsidiary CruiseShipCenters

International Inc. (“Expedia CSC”).

       34. Expedia CSC is a company organized under the laws of Canada.9 Expedia CSC is a

wholly owned subsidiary of CSC Holdings Inc., a company organized under the laws of Canada,




9
  CruiseShipCenters Inc.’s Corporate Disclosure Statement, Global Equity Management (SA)
Pty. v. Expedia, Inc., et. al., C.A. 16-cv-00095-RWS-RSP, (E.D. Tex., May 5, 2016) (D.I. 42). A
copy of CruiseShipCenters Inc.’s Corporate Disclosure Statement has been attached as Exhibit
G.
                                                9
which is a wholly owned subsidiary of Expedia-WA.10

       35. On information and belief, Expedia CSC owns and operates an Expedia

CruiseShipCenter located at 126 Fox Hunt Drive, Bear, DE 19701 (the “Expedia

CruiseShipCenter”). The Expedia CruiseShipCenter is a physical place:




       36. The Expedia CruiseShipCenter is a regular and established place of business in

Delaware. The Expedia CruiseShipCenter is a continued physical presence in Delaware. The

Expedia CruiseShipCenter is open Monday through Friday from 9:30 am to 7 pm.11          The

Expedia CruiseShipCenter is advertised as being an “Expedia” branded business. The store’s

sign identifies the location as being an “Expedia” company. Customers are able to make and

purchase travel arrangements by visiting the Expedia CruiseShipCenter.

       37. Upon information and belief, Expedia CSC is controlled, directed by, and an agent

of Expedia-WA. Expedia-WA and Expedia CSC operate as a single entity and Expedia CSC is

an alter-ego of Expedia-WA. Expedia-WA and Expedia CSC operate as a single company. The

Expedia CruiseShipCenter is thus Expedia-WA’s place of business.

10
 Id.
11
 https://www.cruiseshipcenters.com/en-US/900099/Contact. A copy of
www.cruiseshipcenters.com/en-US/900099/Contact has been attached as Exhibit H.
                                              10
       38. Expedia-WA, through Expedia CSC, provides online and in-person travel

reservations related to cruises as well as other travel-related services to consumers and local

partners directly through the website, www.cruiseshipcenters.com, and through the store located

at 126 Fox Hunt Drive, Bear DE 19701.

       39. Personal jurisdiction exists over Defendants because each Defendant conducts

business in Delaware, by at least offering for sale and selling products and services through its

websites and mobile applications, which are accessible in Delaware, and because infringement

has occurred and continues to occur in Delaware. Personal jurisdiction also exists over Expedia-

DE, Homeaway, Hotwire, and Orbitz because they are entities organized under the laws of

Delaware.

                                 FACTUAL BACKGROUND

A.     IBM Is A Recognized Innovator.

       40. IBM is recognized throughout the world as a pioneer in many aspects of science and

technology. On eight occasions, more times than any other company or organization, IBM has

been awarded the U.S. National Medal of Technology, the nation’s highest award for

technological innovation. During IBM’s over 100-year history, IBM’s employees have included

six Nobel laureates, five National Medal of Science recipients, and at least fourteen inventors in

the National Inventors Hall of Fame.

       41. These and other IBM employees have introduced the world to technology that the

global community takes for granted today, including the dynamic random access memory—

DRAMs—found in nearly all modern computers; magnetic disk storage—hard disk drives—

found in computers and portable music players; and some of the world’s most powerful

supercomputers, including Deep Blue, the first computer to beat a reigning chess champion and

which is on display at the Smithsonian’s National Museum of American History in Washington,

                                               11
D.C. IBM’s commitment to developing these types of advanced computing technologies has

helped to usher in the information age.

B.     IBM Is Committed To Protecting Its Innovations Through The Patent System.

       42. IBM’s research and development operations differentiate IBM from many other

companies. IBM annually spends billions of dollars for research and development. In addition

to yielding inventions that have literally changed the way in which the world works, IBM’s

research and development efforts have resulted in more than 60,000 patents worldwide. For over

two decades the United States Patent and Trademark Office (“USPTO”) has issued more patents

to IBM than to any other company in the world.

       43. Like the research upon which the patents are based, IBM’s patents also benefit

society. Indeed, the Supreme Court has recognized that the patent system encourages both the

creation and the disclosure of new and useful advances in technology. Such disclosure, in turn,

permits society to innovate further. And, as the Court has further recognized, as a reward for

committing resources to innovation and for disclosing that innovation, the patent system

provides patent owners with the exclusive right to prevent others from practicing the claimed

invention for a limited period of time.

C.     IBM Routinely Licenses Its Patents In Many Fields But Will Enforce Its Rights
       Against Those Who Use Its Intellectual Property Unlawfully.

       44. IBM’s commitment to creating a large patent portfolio underscores the value that

IBM places in the exchange of innovation, and disclosure of that innovation, in return for limited

exclusivity. Indeed, IBM has used its patent portfolio to generate revenue and other significant

value for the company by executing patent cross-license agreements. The revenue generated

through patent licensing enables IBM to continue to commit resources to innovation. Cross

licensing, in turn, provides IBM with the freedom to innovate and operate in a manner that


                                               12
respects the technology of others.

       45. Given the investment IBM makes in the development of new technologies and the

management of its patent portfolio, IBM and its shareholders expect companies to act

responsibly with respect to IBM’s patents. IBM facilitates this by routinely licensing its patents

in many fields and by working with companies that wish to use IBM’s technology in those fields

in which IBM grants licenses. When a company appropriates IBM’s intellectual property but

refuses to negotiate a license, IBM has no choice but to seek judicial assistance.

D.     IBM Invented Methods For Presenting Applications And Advertisements In An
       Interactive Service While Developing The PRODIGY Online Service.

       46. The inventors of the ’967 and ’849 patents developed the patented technology as part

of the efforts to launch the PRODIGY online service (“Prodigy”), a forerunner to today’s

Internet, in the late 1980s. The inventors believed that to be commercially viable, Prodigy would

have to provide interactive applications to millions of users with minimal response times. The

inventors believed that the “dumb” terminal approach that had been commonly used in

conventional systems, which heavily relied on host servers’ processing and storage resources for

performance, would not be suitable. As a result, the inventors sought to develop more efficient

methods of communication that would improve the speed and functionality of interactive

applications and reduce equipment capital and operating costs.

       47. In light of the above considerations, the inventors developed novel methods for

presenting applications and advertisements in an interactive service that would take advantage of

the computing power of each user’s PC and thereby reduce demand on host servers, such as

those used by Prodigy. The inventors recognized that if applications were structured to be

comprised of “objects” of data and program code capable of being processed by a user’s PC, the

Prodigy system would be more efficient than conventional systems.              By harnessing the


                                                13
processing and storage capabilities of the user’s PC, applications could then be composed on the

fly from objects stored locally on the PC, reducing reliance on Prodigy’s server and network

resources.

       48. The service that would eventually be called Prodigy embodied inventions from the

’967 and ’849 patents when it launched in late 1988, before the existence of the World Wide

Web.    The efficiencies derived from the use of the patented technology permitted the

implementation of one of the first graphical user interfaces for online services. The efficiencies

also allowed Prodigy to quickly grow its user base. By 1990, Prodigy had become one of the

largest online service providers with hundreds of thousands of users.           The technological

innovations embodied in these patents persist to this day and are fundamental to the efficient

communication of Internet content.

E.     IBM Invented Methods Of Preserving State Information In A Continuing
       Conversation Between A Client And Server Networked Via A Stateless Protocol.

       49. The inventor of the ’601 patent, Arun K. Iyengar, developed the patented technology

as part of IBM’s efforts to discover a better technique of preserving state information in Internet

communications.      State information allows clients and servers to keep track of prior

communications during a conversation. For example, online merchants can use state information

to keep track of a client’s product and service selections while the client is shopping and then use

that information when the client decides to make a purchase.            However, typical Internet

communication protocols, such as HTTP, are stateless. In other words, they do not have a built-

in mechanism to keep track of state information. At the time of the invention, engineers

attempted to solve this problem by passing state information as hidden variables within forms or

by using “Cookies.” Both of those methods had significant drawbacks and limited the types of

interactions that could preserve state information.


                                                14
       50. The inventor recognized the need for techniques to preserve state information that

supported a wide variety of network interactions.         He thus developed novel methods of

recursively embedding state information into communications between clients and servers. For

example, the specification of the ’601 patent discloses program modules that modify hypertext

links in HTML pages in a way that preserves state information for the duration of a conversation.

By transforming Internet communications in this way, the patented technology of the ’601 patent

provides an efficient mechanism to build on previous communications between a server and a

client, such as between an online merchant and a customer.

F.     IBM Invented Methods For A Runtime User Account Creation Operation Using A
       Single-Sign-On Process In A Federated Computer Environment.

       51. The inventors of the ’346 patent developed the patented technology as part of IBM’s

efforts to improve single-sign-on technology.        To access a protected resource at a service

provider on the Internet, a user typically has to authenticate him or herself with the service

provider. Single-sign-on technology facilitates a user’s connection to resources by requiring

only one authorization operation during a particular user session.       However, conventional

technology at the time of the invention required that the user already have an account with the

service provider to use single-sign-on technology.

       52. The inventors of the ’346 patent sought to develop single-sign-on technology that

would permit a new user of a service provider to access protected resources. They developed

novel methods for systems interacting within a federated computing environment to trigger a

single-sign-on operation on behalf of a user that would obtain access to a protected resource and

create an account for the user.     The specification discloses how to structure a federated

computing environment and the sequence and content of interactions between different systems

that can support the patented methods. The ’346 patent thus extends the benefits of single-sign-


                                               15
on technology.

G.     Defendants Have Built Their Business By Infringing IBM’s Patents.

       53. Expedia and its subsidiaries connect consumers wishing to make travel or related

reservations with providers of those services. Expedia has grown rapidly and is now a Fortune

500 company with billions of dollars of revenue per year.

       54. Rather than build their business on their own technologies, Expedia and its

subsidiaries have appropriated the inventions of the Patents-In-Suit. Websites under Expedia’s

and its subsidiaries’ control, including at least www.expedia.com, www.homeaway.com,

www.hotels.com, www.hotwire.com, www.orbitz.com, and www.travelocity.com, use the

technology claimed by the Patents-In-Suit to provide travel and reservation services to their

users. Mobile applications under Expedia’s and its subsidiaries’ control, including the Expedia,

Homeaway, Hotels.com, Hotwire, Orbitz and Travelocity mobile applications running on, for

example, Apple iOS and Google Android operating systems, use the technology claimed by the

Patents-In-Suit to provide travel and reservation services to their users.

       55. On July 23, 2014, IBM sent a letter to inform Expedia-DE, Expedia-WA, and

Hotels.com that they were infringing the Patents-In-Suit. Since July 23, 2014, IBM has tried to

work with Expedia in an effort to negotiate a licensing agreement.

       56. In October of 2011, IBM sent a letter to inform Orbitz that they were infringing at

least the ’967 and ’849 patents. On September 15, 2014, IBM informed Orbitz that they were

infringing at least the ’346 and ’601 patents. On February 12, 2015, Expedia announced that it

had entered into an agreement to acquire Orbitz and on September 17, 2015, Expedia announced

that it had completed the acquisition. After Expedia completed the acquisition, IBM informed

Expedia that Orbitz was infringing the Patents-In-Suit. Since 2011, IBM has tried to work with

Orbitz in an effort to negotiate a licensing agreement.
                                                 16
       57. In November of 2015, Expedia announced that it was acquiring Homeaway and

completed its acquisition in December of 2015. On January 19, 2016, IBM sent Expedia and

Homeaway a letter to inform Expedia and Homeaway that they were infringing the ’849, ’601,

and ’346 patents.

       58. Since at least 2003, Expedia, Hotels.com, and Hotwire have been part of the same

company. On information and belief, Hotwire was aware or should have been aware that it was

infringing the Patents-In-Suit based at least on the correspondence sent to Expedia and

Hotels.com in July 2014.

       59. In January 2015, Expedia acquired Travelocity.         On information and belief,

Travelocity was aware or should have been aware that it was infringing the Patents-In-Suit after

it was acquired by Expedia based at least on the correspondence sent to Expedia and Hotels.com

in July 2014.

       60. IBM has repeatedly attempted to engage with Orbitz and Expedia, and presented

detailed examples of their infringement of each of the Patents-In-Suit. Expedia and Orbitz have

refused to engage in any meaningful discussions about reaching a license agreement to end their

infringement of IBM’s patents. Instead, Defendants have continued to willfully infringe IBM’s

patents so as to obtain the significant benefits of IBM’s innovations without paying any

compensation to IBM.

       61. Because IBM’s over six-year struggle to negotiate a license agreement that remedies

Defendants’ unlawful conduct has failed, IBM has been forced to seek relief through litigation.

Among other relief sought, IBM seeks royalties on the billions of dollars in revenue that

Defendants have received based on their infringement of IBM’s patented technology.




                                              17
                                          COUNT ONE

                          INFRINGEMENT OF THE ’967 PATENT

       62. IBM incorporates by reference paragraphs 1-61.

       63. IBM is the owner of all right, title and interest in the ’967 patent. The ’967 patent

was duly and properly issued by the USPTO on August 18, 1998. The ’967 patent was duly

assigned to IBM. A copy of the ’967 patent is attached hereto as Exhibit I.

       64. In violation of 35 U.S.C. § 271, Expedia and the subsidiaries it controls and are its

alter-egos have infringed, contributed to the infringement of, and/or induced others to infringe

one or more of the claims of the ’967 patent by having made, designed, offered for sale, sold,

provided, used, maintained, and/or supported their websites, including www.expedia.com,

www.homeaway.com,          www.hotels.com,       www.hotwire.com,         www.orbitz.com,       and

www.travelocity.com and the Expedia, Homeaway, Hotels.com, Hotwire, Orbitz, and

Travelocity mobile applications running on, for example, Apple iOS and Google Android

operating systems.

       65. Expedia-DE directs and controls the other Defendants’ infringement of the ’967

patent. Expedia-DE “operate[s] several technology platforms that support [its] brands.” “The

Brand Expedia technology platform supports [its] full-service and multi-product brands,

including Brand Expedia, Orbitz, Travelocity . . . as well as certain parts of the Hotwire brand.”12

“The Hotels.com technology platform supports [its] hotel-only offering, including Hotels.com

Worldwide . . . .”13 “In addition, [Expedia-DE] operate[s] . . . HomeAway, [its] vacation rentals

platform . . . .”14 Through Expedia-DE’s control of the technological platforms used in the other

Defendants’ websites and mobile applications, Expedia-DE directs, controls, and causes the

12
   Expedia-DE’s 2016 Form 10-K
13
   Id.
14
   Id.
                                                18
infringement of the ’967 patent.

        66. For example, www.expedia.com and its mobile applications infringed at least claim

1 of the ’967 patent at least by:

                a.      presenting interactive applications (such as Hotels, Cars, Flights, etc.) on a

computer network (such as the Internet), the network including a multiplicity of user reception

systems (such as the computers or mobile devices of www.expedia.com’s customers) at which

respective users may request a multiplicity of available applications (such as Hotels, Cars,

Flights, etc.), the respective reception systems including a monitor (such as a computer monitor

or mobile screen of a www.expedia.com customer’s computer or mobile device) at which the

applications requested can be presented as one or more screens of display (such as a display

region of Hotels, Cars, Flights, etc.).

                b.      generating a screen display at a respective reception system for a

requested application (such as Hotels, Cars, Flights, etc.), the screen display being generated by

the respective reception system from data objects having a prescribed data structure (such as

HTTP Responses containing png and/or jpeg files), at least some of which objects may be stored

at the respective reception system (such as the computer or mobile device of a www.expedia.com

customer), the screen display including a plurality of partitions (such as the webpage, the menu

bar, and/or the content for Hotels, Cars, Flights, etc.), the partitions being constructed from

objects, the objects being retrieved from the objects stored at the respective reception system

(such as the computer or mobile device of a www.expedia.com customer), or if unavailable from

the objects stored at the respective reception system, then from the network (such as the

Internet), such that at least some of the objects may be used in more than one application (such

as Hotels, Cars, Flights, etc.).



                                                 19
                c.      generating at least a first partition (such as the webpage and/or the content

for Hotels, Cars, Flights, etc.) for presenting applications (such as Hotels, Cars, Flights, etc.).

                d.      generating concurrently with the first partition at least a second partition

for presenting a plurality of command functions (such as the menu bar), the command functions

including at least a first group which are selectable to permit movement between applications

(such as Hotels, Cars, Flights, etc.).

        67. For example, www.homeaway.com and its mobile applications infringed at least

claim 1 of the ’967 patent at least by:

                a.      presenting interactive applications (such as Traveler, Owner, etc.) on a

computer network (such as the Internet), the network including a multiplicity of user reception

systems (such as the computers or mobile devices of www.homeaway.com’s customers) at which

respective users may request a multiplicity of available applications (such as Traveler, Owner,

etc.), the respective reception systems including a monitor (such as a computer monitor or

mobile screen of a www.homeaway.com customer’s computer or mobile device) at which the

applications requested can be presented as one or more screens of display (such as a display

region of Traveler, Owner, etc.).

                b.      generating a screen display at a respective reception system for a

requested application (such as Traveler, Owner, etc.), the screen display being generated by the

respective reception system from data objects having a prescribed data structure (such as HTTP

Responses containing png and/or jpeg files), at least some of which objects may be stored at the

respective reception system (such as the computer or mobile device of a www.homeaway.com

customer), the screen display including a plurality of partitions (such as the webpage, the menu

bar, and/or the content for Traveler, Owner, etc.), the partitions being constructed from objects,



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the objects being retrieved from the objects stored at the respective reception system (such as the

computer or mobile device of a www.homeaway.com customer), or if unavailable from the

objects stored at the respective reception system, then from the network (such as the Internet),

such that at least some of the objects may be used in more than one application (such as Traveler,

Owner, etc.).

                c.     generating at least a first partition (such as the webpage and/or the content

for Traveler, Owner, etc.) for presenting applications (such as Traveler, Owner, etc.).

                d.     generating concurrently with the first partition at least a second partition

for presenting a plurality of command functions (such as the menu bar), the command functions

including at least a first group which are selectable to permit movement between applications

(such as Traveler, Owner, etc.).

       68. For example, www.hotels.com and its mobile applications infringed at least claim 1

of the ’967 patent at least by:

                a.     presenting interactive applications (such as Hotel Deals, Packages, etc.) on

a computer network (such as the Internet), the network including a multiplicity of user reception

systems (such as the computers or mobile devices of www.hotels.com’s customers) at which

respective users may request a multiplicity of available applications (such as Hotel Deals,

Packages, etc.), the respective reception systems including a monitor (such as a computer

monitor or mobile screen of a www.hotels.com customer’s computer or mobile device) at which

the applications requested can be presented as one or more screens of display (such as a display

region of Hotel Deals, Packages, etc.).

                b.     generating a screen display at a respective reception system for a

requested application (such as Hotel Deals, Packages, etc.), the screen display being generated



                                                21
by the respective reception system from data objects having a prescribed data structure (such as

HTTP Responses containing png and/or jpeg files), at least some of which objects may be stored

at the respective reception system (such as the computer or mobile device of a www.hotels.com

customer), the screen display including a plurality of partitions (such as the webpage, the menu

bar, and/or the content for Hotel Deals, Packages, etc.), the partitions being constructed from

objects, the objects being retrieved from the objects stored at the respective reception system

(such as the computer or mobile device of a www.hotels.com customer), or if unavailable from

the objects stored at the respective reception system, then from the network (such as the

Internet), such that at least some of the objects may be used in more than one application (such

as Hotel Deals, Packages, etc.).

               c.      generating at least a first partition (such as the webpage and/or the content

for Hotel Deals, Packages, etc.) for presenting applications (such as Hotel Deals, Packages, etc.).

               d.      generating concurrently with the first partition at least a second partition

for presenting a plurality of command functions (such as the menu bar), the command functions

including at least a first group which are selectable to permit movement between applications

(such as Hotel Deals, Packages, etc.).

       69. For example, www.hotwire.com and its mobile applications infringed at least claim

1 of the ’967 patent at least by:

               a.      presenting interactive applications (such as Hotels, Cars, Flights, etc.) on a

computer network (such as the Internet), the network including a multiplicity of user reception

systems (such as the computers or mobile devices of www.hotwire.com’s customers) at which

respective users may request a multiplicity of available applications (such as Hotels, Cars,

Flights, etc.), the respective reception systems including a monitor (such as a computer monitor



                                                22
or mobile screen of a www.hotwire.com customer’s computer or mobile device) at which the

applications requested can be presented as one or more screens of display (such as a display

region of Hotels, Cars, Flights, etc.).

                b.      generating a screen display at a respective reception system for a

requested application (such as Hotels, Cars, Flights, etc.), the screen display being generated by

the respective reception system from data objects having a prescribed data structure (such as

HTTP Responses containing png and/or jpeg files), at least some of which objects may be stored

at the respective reception system (such as the computer or mobile device of a www.hotwire.com

customer), the screen display including a plurality of partitions (such as the webpage, the menu

bar, and/or the content for Hotels, Cars, Flights, etc.), the partitions being constructed from

objects, the objects being retrieved from the objects stored at the respective reception system

(such as the computer or mobile device of a www.hotwire.com customer), or if unavailable from

the objects stored at the respective reception system, then from the network (such as the

Internet), such that at least some of the objects may be used in more than one application (such

as Hotels, Cars, Flights, etc.).

                c.      generating at least a first partition (such as the webpage and/or the content

for Hotels, Cars, Flights, etc.) for presenting applications (such as Hotels, Cars, Flights, etc.).

                d.      generating concurrently with the first partition at least a second partition

for presenting a plurality of command functions (such as the menu bar), the command functions

including at least a first group which are selectable to permit movement between applications

(such as Hotels, Cars, Flights, etc.).

        70. For example, www.orbitz.com and its mobile applications infringed at least claim 1

of the ’967 patent at least by:



                                                  23
                a.      presenting interactive applications (such as Hotels, Flights, Cars, etc.) on a

computer network (such as the Internet), the network including a multiplicity of user reception

systems (such as the computers or mobile devices of www.orbitz.com’s customers) at which

respective users may request a multiplicity of available applications (such as Hotels, Flights,

Cars, etc.), the respective reception systems including a monitor (such as a computer monitor or

mobile screen of a www.orbitz.com customer’s computer or mobile device) at which the

applications requested can be presented as one or more screens of display (such as a display

region of Hotels, Flights, Cars, etc.).

                b.      generating a screen display at a respective reception system for a

requested application (such as Hotels, Flights, Cars, etc.), the screen display being generated by

the respective reception system from data objects having a prescribed data structure (such as

HTTP Responses containing png and/or jpeg files), at least some of which objects may be stored

at the respective reception system (such as the computer or mobile device of a www.orbitz.com

customer), the screen display including a plurality of partitions (such as the webpage, the menu

bar, and/or the content for Hotels, Flights, Cars, etc.), the partitions being constructed from

objects, the objects being retrieved from the objects stored at the respective reception system

(such as the computer or mobile device of a www.orbitz.com customer), or if unavailable from

the objects stored at the respective reception system, then from the network (such as the

Internet), such that at least some of the objects may be used in more than one application (such

as Hotels, Flights, Cars, etc.).

                c.      generating at least a first partition (such as the webpage and/or the content

for Hotels, Flights, Cars, etc.) for presenting applications (such as Hotels, Flights, Cars, etc.).

                d.      generating concurrently with the first partition at least a second partition



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for presenting a plurality of command functions (such as the menu bar), the command functions

including at least a first group which are selectable to permit movement between applications

(such as Hotels, Flights, Cars, etc.).

        71. For example, www.travelocity.com and its mobile applications infringed at least

claim 1 of the ’967 patent at least by:

                a.      presenting interactive applications (such as Hotels, Flights, Cars, etc.) on a

computer network (such as the Internet), the network including a multiplicity of user reception

systems (such as the computers or mobile devices of www.travelocity.com’s customers) at which

respective users may request a multiplicity of available applications (such as Hotels, Flights,

Cars, etc.), the respective reception systems including a monitor (such as a computer monitor or

mobile screen of a www.travelocity.com customer’s computer or mobile device) at which the

applications requested can be presented as one or more screens of display (such as a display

region of Hotels, Flights, Cars, etc.).

                b.      generating a screen display at a respective reception system for a

requested application (such as Hotels, Flights, Cars, etc.), the screen display being generated by

the respective reception system from data objects having a prescribed data structure (such as png

and/or jpeg files), at least some of which objects may be stored at the respective reception system

(such as the computer or mobile device of a www.travelocity.com customer), the screen display

including a plurality of partitions (such as the webpage, the menu bar, and/or the content for

Hotels, Flights, Cars, etc.), the partitions being constructed from objects, the objects being

retrieved from the objects stored at the respective reception system (such as the computer or

mobile device of a www.travelocity.com customer), or if unavailable from the objects stored at

the respective reception system, then from the network (such as the Internet), such that at least



                                                 25
some of the objects may be used in more than one application (such as Hotels, Flights, Cars,

etc.).

                c.      generating at least a first partition (such as the webpage and/or the content

for Hotels, Flights, Cars, etc.) for presenting applications (such as Hotels, Flights, Cars, etc.).

                d.      generating concurrently with the first partition at least a second partition

for presenting a plurality of command functions (such as the menu bar), the command functions

including at least a first group which are selectable to permit movement between applications

(such as Hotels, Flights, Cars, etc.).

         72. IBM has been damaged by the infringement of its ’967 patent by Expedia and

Defendants. IBM is entitled to recover from Expedia and Defendants the damages sustained by

IBM as a result of Expedia and Defendants’ wrongful acts.

         73. The infringement by Expedia and Defendants of the ’967 patent was deliberate and

willful, entitling IBM to increased damages under 35 U.S.C. § 284 and to attorney fees and costs

incurred in prosecuting this action under 35 U.S.C. § 285.

                                           COUNT TWO

                           INFRINGEMENT OF THE ’849 PATENT

         74. IBM incorporates by reference paragraphs 1-73.

         75. IBM is the owner of all right, title and interest in the ’849 patent. The ’849 patent

was duly and properly issued by the USPTO on July 4, 2006. The ’849 patent was duly assigned

to IBM. A copy of the ’849 patent is attached hereto as Exhibit J.

         76. In violation of 35 U.S.C. § 271, Expedia and the subsidiaries it controls and are its

alter-egos have infringed, contributed to the infringement of, and/or induced others to infringe

one or more of the claims of the ’849 patent by having made, designed, offered for sale, sold,

provided, used, maintained, and/or supported their websites, including www.expedia.com,

                                                  26
www.homeaway.com,           www.hotels.com,      www.hotwire.com,         www.orbitz.com,       and

www.travelocity.com and its mobile applications, including the Expedia, Homeaway,

Hotels.com, Hotwire, Orbitz, and Travelocity applications for mobile devices running on, for

example, the Apple iOS and Google Android operating systems.           Expedia’s and Defendants’

infringement is continuing.

       77. Expedia-DE directs and controls the other Defendants’ infringement of the ’849

patent. Expedia-DE “operate[s] several technology platforms that support [its] brands.” “The

Brand Expedia technology platform supports [its] full-service and multi-product brands,

including Brand Expedia, Orbitz, Travelocity . . . as well as certain parts of the Hotwire brand.”15

“The Hotels.com technology platform supports [its] hotel-only offering, including Hotels.com

Worldwide . . . .”16 “In addition, [Expedia-DE] operate[s] . . . HomeAway, [its] vacation rentals

platform . . . .”17 Through Expedia-DE’s control of the technological platforms used in the other

Defendants’ websites and mobile applications, Expedia-DE directs, controls, and causes the

infringement of the ’849 patent.

       78. For example, www.expedia.com and Expedia mobile applications infringe at least

claim 1 of the ’849 patent at least by:

               a.      presenting advertising obtained from a computer network (such as the

Internet), the network including a multiplicity of user reception systems (such as the computers

or mobile devices of Expedia’s customers) at which respective users can request applications

(such as Hotels, Cars, Flights, etc.), from the network, that include interactive services (such as

offering hotel reservations), the respective reception systems including a monitor (such as a



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   Expedia-DE’s 2016 Form 10-K
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   Id.
17
   Id.
                                                27
computer monitor or mobile screen of a Expedia customer’s computer or mobile device) at

which at least the visual portion of the applications can be presented as one or more screens of

display, the method comprising the steps of:

               b.      structuring applications (such as Hotels, Cars, Flights, etc.) so that they

may be presented, through the network, at a first portion (such as the portion of the webpage in

which the content for Hotels, Cars, Flights, etc. is presented) of one or more screens of display;

and

               c.      structuring advertising (such as advertising for hotels) in a manner

compatible to that of the applications so that it may be presented, through the network, at a

second portion (such as the portion of the webpage in which the advertising for hotels is

presented) of one or more screens of display concurrently with applications (such as Hotels,

Cars, Flights, etc.), wherein structuring the advertising includes configuring the advertising as

objects (such as HTTP Responses containing png or jpeg files) that include advertising data and;

               d.      selectively storing (such as by setting a cache control parameter)

advertising objects at a store (such as the browser cache) established at the reception system.

       79. For example, www.homeaway.com and Homeaway mobile applications infringe at

least claim 1 of the ’849 patent at least by:

               a.      presenting advertising obtained from a computer network (such as the

Internet), the network including a multiplicity of user reception systems (such as the computers

or mobile devices of Homeaway.com’s customers) at which respective users can request

applications (such as Traveler, Owner, etc.), from the network, that include interactive services

(such as offering home rental reservations), the respective reception systems including a monitor

(such as a computer monitor or mobile screen of a Homeaway.com customer’s computer or



                                                28
mobile device) at which at least the visual portion of the applications can be presented as one or

more screens of display, the method comprising the steps of:

               b.      structuring applications (such as Traveler, Owner, etc.) so that they may

be presented, through the network, at a first portion (such as the portion of the webpage in which

the content for Traveler, Owner, etc. is presented) of one or more screens of display; and

               c.      structuring advertising (such as advertising for homes) in a manner

compatible to that of the applications so that it may be presented, through the network, at a

second portion (such as the portion of the webpage in which the advertising for homes is

presented) of one or more screens of display concurrently with applications (such as Traveler,

Owner, etc.), wherein structuring the advertising includes configuring the advertising as objects

(such as HTTP Responses containing png or jpeg files) that include advertising data and;

               d.      selectively storing (such as by setting a cache control parameter)

advertising objects at a store (such as the browser cache) established at the reception system.

       80. For example, www.hotels.com and Hotels.com mobile applications infringe at least

claim 1 of the ’849 patent at least by:

               a.      presenting advertising obtained from a computer network (such as the

Internet), the network including a multiplicity of user reception systems (such as the computers

or mobile devices of Hotels.com’s customers) at which respective users can request applications

(such as Hotel Deals, Packages, etc.), from the network, that include interactive services (such as

offering hotel reservations), the respective reception systems including a monitor (such as a

computer monitor or mobile screen of a Hotels.com customer’s computer or mobile device) at

which at least the visual portion of the applications can be presented as one or more screens of

display, the method comprising the steps of:



                                                29
               b.      structuring applications (such as Hotel Deals, Packages, etc.) so that they

may be presented, through the network, at a first portion (such as the portion of the webpage in

which the content for Hotel Deals, Packages, etc. is presented) of one or more screens of display;

and

               c.      structuring advertising (such as advertising for hotels) in a manner

compatible to that of the applications so that it may be presented, through the network, at a

second portion (such as the portion of the webpage in which the advertising for hotels is

presented) of one or more screens of display concurrently with applications (such as Hotel Deals,

Packages, etc.), wherein structuring the advertising includes configuring the advertising as

objects (such as HTTP Responses containing png or jpeg files) that include advertising data and;

               d.      selectively storing (such as by setting a cache control parameter)

advertising objects at a store (such as the browser cache) established at the reception system.

       81. For example, www.hotwire.com and Hotwire mobile applications infringe at least

claim 1 of the ’849 patent at least by:

               a.      presenting advertising obtained from a computer network (such as the

Internet), the network including a multiplicity of user reception systems (such as the computers

or mobile devices of Hotwire’s customers) at which respective users can request applications

(such as Hotels, Cars, Flights, etc.), from the network, that include interactive services (such as

offering hotel reservations), the respective reception systems including a monitor (such as a

computer monitor or mobile screen of a Hotwire customer’s computer and mobile device) at

which at least the visual portion of the applications can be presented as one or more screens of

display, the method comprising the steps of:

               b.      structuring applications (such as Hotels, Cars, Flights, etc.) so that they



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may be presented, through the network, at a first portion (such as the portion of the webpage in

which the content for Hotels, Cars, Flights, etc. is presented) of one or more screens of display;

and

               c.      structuring advertising (such as advertising for hotels) in a manner

compatible to that of the applications so that it may be presented, through the network, at a

second portion (such as the portion of the webpage in which the advertising for hotels is

presented) of one or more screens of display concurrently with applications (such as Hotels,

Cars, Flights, etc.), wherein structuring the advertising includes configuring the advertising as

objects (such as HTTP Responses containing png or jpeg files) that include advertising data and;

               d.      selectively storing (such as by setting a cache control parameter)

advertising objects at a store (such as the browser cache) established at the reception system.

       82. For example, www.orbitz.com and Orbitz mobile applications infringe at least claim

1 of the ’849 patent at least by:

               a.      presenting advertising obtained from a computer network (such as the

Internet), the network including a multiplicity of user reception systems (such as the computers

or mobile devices of Orbitz’s customers) at which respective users can request applications (such

as Hotels, Flights, Cars, etc.), from the network, that include interactive services (such as

offering hotel reservations), the respective reception systems including a monitor (such as a

computer monitor or mobile screen of a Orbitz customer’s computer or mobile device) at which

at least the visual portion of the applications can be presented as one or more screens of display,

the method comprising the steps of:

               b.      structuring applications (such as Hotels, Flights, Cars, etc.) so that they

may be presented, through the network, at a first portion (such as the portion of the webpage in



                                                31
which the content for Hotels, Flights, Cars, etc. is presented) of one or more screens of display;

and

               c.      structuring advertising (such as advertising for hotels) in a manner

compatible to that of the applications so that it may be presented, through the network, at a

second portion (such as the portion of the webpage in which the advertising for hotels is

presented) of one or more screens of display concurrently with applications (such as Hotels,

Flights, Cars, etc.), wherein structuring the advertising includes configuring the advertising as

objects (such as HTTP Responses containing png or jpeg files) that include advertising data and;

               d.      selectively storing (such as by setting a cache control parameter)

advertising objects at a store (such as the browser cache) established at the reception system.

       83. For example, www.travelocity.com and Travelocity mobile applications infringe at

least claim 1 of the ’849 patent at least by:

               a.      presenting advertising obtained from a computer network (such as the

Internet), the network including a multiplicity of user reception systems (such as the computers

or mobile devices of travelocity.com’s customers) at which respective users can request

applications (such as Hotels, Flights, Cars, etc.), from the network, that include interactive

services (such as offering hotel reservations), the respective reception systems including a

monitor (such as a computer monitor or mobile screen of a travelocity.com customer’s computer

or mobile device) at which at least the visual portion of the applications can be presented as one

or more screens of display, the method comprising the steps of:

               b.      structuring applications (such as Hotels, Flights, Cars, etc.) so that they

may be presented, through the network, at a first portion (such as the portion of the webpage in

which the content for Hotels, Flights, Cars, etc. is presented) of one or more screens of display;



                                                32
and

               c.      structuring advertising (such as advertising for hotels) in a manner

compatible to that of the applications so that it may be presented, through the network, at a

second portion (such as the portion of the webpage in which the advertising for hotels is

presented) of one or more screens of display concurrently with applications (such as Hotels,

Flights, Cars, etc.), wherein structuring the advertising includes configuring the advertising as

objects (such as HTTP Responses containing png or jpeg files) that include advertising data and;

               d.      selectively storing (such as by setting a cache control parameter)

advertising objects at a store (such as the browser cache) established at the reception system.

       84. IBM has been damaged by the infringement of its ’849 patent by Expedia and

Defendants and will continue to be damaged by such infringement. IBM is entitled to recover

from Expedia and Defendants the damages sustained by IBM as a result of Expedia’s and

Defendants’ wrongful acts.

       85. The continued infringement by Expedia and Defendants of the ’849 patent is

deliberate and willful, entitling IBM to increased damages under 35 U.S.C. § 284 and to attorney

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

       86. IBM has suffered and continues to suffer irreparable harm, for which there is no

adequate remedy at law, and will continue to do so unless Expedia and Defendants are enjoined

therefrom by this Court.

                                        COUNT THREE

                           INFRINGEMENT OF THE ’601 PATENT

       87. IBM incorporates by reference paragraphs 1-86.

       88. IBM is the owner of all right, title and interest in the ’601 patent. The ’601 patent

was duly and properly issued by the USPTO on October 5, 1999. The ’601 patent was duly

                                                33
assigned to IBM. A copy of the ’601 patent is attached hereto as Exhibit K.

       89. In violation of 35 U.S.C. § 271, Expedia and the subsidiaries it controls and are its

alter-egos have infringed, contributed to the infringement of, and/or induced others to infringe

one or more of the claims of the ’601 patent by having made, designed, offered for sale, sold,

provided, used, maintained, and/or supported their websites, including www.expedia.com,

www.homeaway.com,           www.hotels.com,      www.hotwire.com,         www.orbitz.com,       and

www.travelocity.com, and its mobile applications, including the Expedia, Homeaway,

Hotels.com, Hotwire, Orbitz, and Travelocity applications for mobile devices running on, for

example, the Apple iOS and Google Android operating systems.

       90. Expedia-DE directs and controls the other Defendants’ infringement of the ’601

patent. Expedia-DE “operate[s] several technology platforms that support [its] brands.” “The

Brand Expedia technology platform supports [its] full-service and multi-product brands,

including Brand Expedia, Orbitz, Travelocity . . . as well as certain parts of the Hotwire brand.”18

“The Hotels.com technology platform supports [its] hotel-only offering, including Hotels.com

Worldwide . . . .”19 “In addition, [Expedia-DE] operate[s] . . . HomeAway, [its] vacation rentals

platform . . . .”20 Through Expedia-DE’s control of the technological platforms used in the other

Defendants’ websites and mobile applications, Expedia-DE directs, controls, and causes the

infringement of the ’601 patent.

       91. For example, www.expedia.com and Expedia mobile applications infringed claim 51

of the ’601 patent at least by:

               a.      preserving state information (such as identification variables about the



18
   Expedia-DE’s 2016 Form 10-K
19
   Id.
20
   Id.
                                                34
user and/or the user’s request) in a conversation via a stateless protocol (such as http or https)

between a client adapted to request services (such as requesting available reservations) from one

or more servers (such as Expedia’s website servers), the method comprising the steps of:

               b.      receiving a service request (such as a request to search for available

reservations, including for example “hotels”) including state information, via the stateless

protocol;

               c.      identifying all continuations (such as hyperlinks or other URL references)

in an output from said service (such as webpage requests or search results) and recursively

embedding the state information (such as inserting identification variables) in all identified

continuations, in response to said request; and

               d.      communicating a response including the continuations and embedded state

information, wherein the continuations enable another service request (such as the process of

making reservations, including reserving “hotels” or another HTTP request) and one of the

continuations must be invoked to continue the conversation.

       92. For example, www.homeaway.com and Homeaway mobile applications infringed

claim 51 of the ’601 patent at least by:

               a.      preserving state information (such as identification variables about the

user and/or the user’s request) in a conversation via a stateless protocol (such as http or https)

between a client adapted to request services (such as requesting available reservations) from one

or more servers (such as Homeaway’s website servers), the method comprising the steps of:

               b.      receiving a service request (such as a request to search for available

reservations, including for example “homes”) including state information, via the stateless

protocol;



                                                  35
               c.      identifying all continuations (such as hyperlinks or other URL references)

in an output from said service (such as webpage requests or search results) and recursively

embedding the state information (such as inserting identification variables) in all identified

continuations, in response to said request; and

               d.      communicating a response including the continuations and embedded state

information, wherein the continuations enable another service request (such as the process of

making reservations, including reserving “homes” or another HTTP request) and one of the

continuations must be invoked to continue the conversation.

       93. For example, www.hotels.com and Hotels.com mobile applications infringed claim

51 of the ’601 patent at least by:

               a.      preserving state information (such as identification variables about the

user and/or the user’s request) in a conversation via a stateless protocol (such as http or https)

between a client adapted to request services (such as requesting available reservations) from one

or more servers (such as Hotels.com’s website servers), the method comprising the steps of:

               b.      receiving a service request (such as a request to search for available

reservations, including for example “hotels”) including state information, via the stateless

protocol;

               c.      identifying all continuations (such as hyperlinks or other URL references)

in an output from said service (such as webpage requests or search results) and recursively

embedding the state information (such as inserting identification variables) in all identified

continuations, in response to said request; and

               d.      communicating a response including the continuations and embedded state

information, wherein the continuations enable another service request (such as the process of



                                                  36
making reservations, including reserving “hotels” or another HTTP request) and one of the

continuations must be invoked to continue the conversation.

       94. For example, www.hotwire.com and Hotwire mobile applications infringed claim 51

of the ’601 patent at least by:

               a.      preserving state information (such as identification variables about the

user and/or the user’s request) in a conversation via a stateless protocol (such as http or https)

between a client adapted to request services (such as requesting available reservations) from one

or more servers (such as Hotwire’s website servers), the method comprising the steps of:

               b.      receiving a service request (such as a request to search for available

reservations, including for example “hotels”) including state information, via the stateless

protocol;

               c.      identifying all continuations (such as hyperlinks or other URL references)

in an output from said service (such as webpage requests or search results) and recursively

embedding the state information (such as inserting identification variables) in all identified

continuations, in response to said request; and

               d.      communicating a response including the continuations and embedded state

information, wherein the continuations enable another service request (such as the process of

making reservations, including reserving “hotels” or another HTTP request) and one of the

continuations must be invoked to continue the conversation.

       95. For example, www.orbitz.com and Orbitz mobile applications infringed claim 51 of

the ’601 patent at least by:

               a.      preserving state information (such as identification variables about the

user and/or the user’s request) in a conversation via a stateless protocol (such as http or https)



                                                  37
between a client adapted to request services (such as requesting available reservations) from one

or more servers (such as Orbitz’s website servers), the method comprising the steps of:

               b.      receiving a service request (such as a request to search for available

reservations, including for example “hotels”) including state information, via the stateless

protocol;

               c.      identifying all continuations (such as hyperlinks or other URL references)

in an output from said service (such as webpage requests or search results) and recursively

embedding the state information (such as inserting identification variables) in all identified

continuations, in response to said request; and

               d.      communicating a response including the continuations and embedded state

information, wherein the continuations enable another service request (such as the process of

making reservations, including reserving “hotels” or another HTTP request) and one of the

continuations must be invoked to continue the conversation.

       96. For example, www.travelocity.com and Travelocity mobile applications infringed

claim 51 of the ’601 patent at least by:

               a.      preserving state information (such as identification variables about the

user and/or the user’s request) in a conversation via a stateless protocol (such as http or https)

between a client adapted to request services (such as requesting available reservations) from one

or more servers (such as Travelocity’s website servers), the method comprising the steps of:

               b.      receiving a service request (such as a request to search for available

reservations, including for example “hotels”) including state information, via the stateless

protocol;

               c.      identifying all continuations (such as hyperlinks or other URL references)



                                                  38
in an output from said service (such as webpage requests or search results) and recursively

embedding the state information (such as inserting identification variables) in all identified

continuations, in response to said request; and

               d.     communicating a response including the continuations and embedded state

information, wherein the continuations enable another service request (such as the process of

making reservations, including reserving “hotels” or another HTTP request) and one of the

continuations must be invoked to continue the conversation.

       97. IBM has been damaged by the infringement of its ’601 patent by Expedia and

Defendants. IBM is entitled to recover from Expedia and Defendants the damages sustained by

IBM as a result of Expedia and Defendants’ wrongful acts.

       98. The infringement by Expedia and Defendants of the ’601 patent was deliberate and

willful, entitling IBM to increased damages under 35 U.S.C. § 284 and to attorney fees and costs

incurred in prosecuting this action under 35 U.S.C. § 285.

                                         COUNT FOUR

                          INFRINGEMENT OF THE ’346 PATENT

       99. IBM incorporates by reference paragraphs 1-98.

       100. IBM is the owner of all right, title and interest in the ’346 patent. The ’346 patent

was duly and properly issued by the USPTO on December 8, 2009. The ’346 patent was duly

assigned to IBM. A copy of the ’346 patent is attached hereto as Exhibit L.

       101. In violation of 35 U.S.C. § 271, Expedia and the subsidiaries it controls and are its

alter-egos have infringed, contributed to the infringement of, and/or induced others to infringe

one or more of the claims of the ’346 patent by having made, designed, offered for sale, sold,

provided, used, maintained, and/or supported their websites, including www.expedia.com,

www.homeaway.com,          www.hotwire.com,            www.hotels.com,   www.orbitz.com,     and

                                                  39
www.travelocity.com and its mobile applications, including the Expedia, Homeaway, Hotwire,

Hotels.com, Orbitz, and Travelocity applications for mobile devices running on, for example, the

Apple iOS and Google Android operating systems.         Expedia and Defendants’ infringement is

continuing.

       102. Expedia-DE directs and controls the other Defendants’ infringement of the ’346

patent. Expedia-DE “operate[s] several technology platforms that support [its] brands.” “The

Brand Expedia technology platform supports [its] full-service and multi-product brands,

including Brand Expedia, Orbitz, Travelocity . . . as well as certain parts of the Hotwire brand.”21

“The Hotels.com technology platform supports [its] hotel-only offering, including Hotels.com

Worldwide . . . .”22 “In addition, [Expedia-DE] operate[s] . . . HomeAway, [its] vacation rentals

platform . . . .”23 Through Expedia-DE’s control of the technological platforms used in the other

Defendants’ websites and mobile applications, Expedia-DE directs, controls, and causes the

infringement of the ’346 patent.

       103. For example, www.expedia.com and Expedia mobile applications infringe claim 5 of

the ’346 patent by, for example:

               a.      managing user authentication (such as verifying the identity of an Expedia

user) within a distributed data processing system (such as a computer network), wherein a first

system (such as Facebook and its network) and a second system (such as Expedia and its

network) interact within a federated computing environment (such as a computer network; for

example, the Internet, including Facebook and Expedia) and support single-sign-on operations

(“Sign in” operations) in order to provide access to protected resources (such as the “My Trips”



21
   Expedia-DE’s 2016 Form 10-K
22
   Id.
23
   Id.
                                                40
option on www.expedia.com or “Your Trips” on Expedia mobile applications), at least one of the

first system and the second system comprising a processor, the method comprising;

               b.      triggering a single-sign-on operation (such as launching an operation to

“Sign In” using Facebook) on behalf of the user in order to obtain access to a protected resource

that is hosted by the second system, wherein the second system requires a user account for the

user to complete the single-sign-on operation (such as requiring the user to have an Expedia

account) prior to providing access to the protected resource;

               c.      receiving from the first system at the second system an identifier

associated with the user (such as an email address, Facebook ID, or access token);

               d.      creating a user account (such as an Expedia account) for the user at the

second system based at least in part on the received identifier associated with the user after

triggering the single-sign-on operation but before generating at the second system a response for

accessing the protected resource (such as the “My Trips” option on www.expedia.com or “Your

Trips” on Expedia mobile applications), wherein the created user account supports single-sign-on

operations (such as “Sign In” operations at www.expedia.com using a Facebook account)

between the first system and the second system on behalf of the user;

               e.      in response to a determination at the second system that the second system

does not have sufficient user attribute information (e.g., the user access token is insufficient) to

complete creation of a user account for the user at the second system (such as Expedia and its

network), sending a request message (e.g., calling an API) from the second system to the first

system (such as Facebook and its network) to retrieve user attribute information; and

               f.      receiving at the second system from the first system a response message

(e.g., a response to the API call) that contains user attribute information that is employed by the



                                                41
second system to complete creation of a user account for the user at the second system.

       104. For example, www.homeaway.com and Homeaway mobile applications infringe

claim 5 of the ’346 patent by, for example:

               a.     managing user authentication (such as verifying the identity of a

Homeaway user) within a distributed data processing system (such as a computer network),

wherein a first system (such as Facebook and its network) and a second system (such as

Homeaway and its network) interact within a federated computing environment (such as a

computer network; for example, the Internet, including Facebook and Homeaway) and support

single-sign-on operations (“Sign in” operations) in order to provide access to protected resources

(such as the “My Trips” and “Inbox” option on www.homeaway.com or “Trips” or “Inbox” on

Homeaway mobile applications), at least one of the first system and the second system

comprising a processor, the method comprising;

               b.     triggering a single-sign-on operation (such as launching an operation to

“Sign In” using Facebook) on behalf of the user in order to obtain access to a protected resource

that is hosted by the second system, wherein the second system requires a user account for the

user to complete the single-sign-on operation (such as requiring the user to have a Homeaway

account) prior to providing access to the protected resource;

               c.     receiving from the first system at the second system an identifier

associated with the user (such as an email address, Facebook ID, or access token);

               d.     creating a user account (such as a Homeaway account) for the user at the

second system based at least in part on the received identifier associated with the user after

triggering the single-sign-on operation but before generating at the second system a response for

accessing the protected resource (such as the “My Trips” and Inbox” options on



                                                42
www.homeaway.com or “Trips” or “Inbox” on Homeaway mobile applications), wherein the

created user account supports single-sign-on operations (such as “Sign In” operations at

www.homeaway.com using a Facebook account) between the first system and the second system

on behalf of the user;

               e.        in response to a determination at the second system that the second system

does not have sufficient user attribute information (e.g., the user access token is insufficient) to

complete creation of a user account for the user at the second system (such as Homeaway and its

network), sending a request message (e.g., calling an API) from the second system to the first

system (such as Facebook and its network) to retrieve user attribute information; and

               f.        receiving at the second system from the first system a response message

(e.g., a response to the API call) that contains user attribute information that is employed by the

second system to complete creation of a user account for the user at the second system.

       105. For example, www.hotels.com and Hotels.com mobile applications infringe claim 5

of the ’346 patent by, for example:

               a.        managing user authentication (such as verifying the identity of a

Hotels.com user) within a distributed data processing system (such as a computer network),

wherein a first system (such as Facebook and its network) and a second system (such as

Hotels.com and its network) interact within a federated computing environment (such as a

computer network; for example, the Internet, including Facebook and Hotels.com) and support

single-sign-on operations (“Sign in” operations) in order to provide access to protected resources

(such as the “Your bookings” option on www.hotels.com or the “Find your bookings” option on

Hotels.com mobile applications), at least one of the first system and the second system

comprising a processor, the method comprising;



                                                 43
               b.      triggering a single-sign-on operation (such as launching an operation to

“Sign In” using Facebook) on behalf of the user in order to obtain access to a protected resource

that is hosted by the second system, wherein the second system requires a user account for the

user to complete the single-sign-on operation (such as requiring the user to have a Hotels.com

account) prior to providing access to the protected resource;

               c.      receiving from the first system at the second system an identifier

associated with the user (such as an email address, Facebook ID, or access token);

               d.      creating a user account (such as a Hotels.com account) for the user at the

second system based at least in part on the received identifier associated with the user after

triggering the single-sign-on operation but before generating at the second system a response for

accessing the protected resource (such as the “Your bookings” option on www.hotels.com or the

“Find your bookings” option on Hotels.com mobile applications), wherein the created user

account supports single-sign-on operations (such as “Sign In” operations at Hotels.com using a

Facebook account) between the first system and the second system on behalf of the user; and

               e.      in response to a determination at the second system that the second system

does not have sufficient user attribute information (e.g., the user access token is insufficient) to

complete creation of a user account for the user at the second system (such as Hotels.com and its

network), sending a request message (e.g., calling an API) from the second system to the first

system (such as Facebook and its network) to retrieve user attribute information; and

               f.      receiving at the second system from the first system a response message

(e.g., a response to the API call) that contains user attribute information that is employed by the

second system to complete creation of a user account for the user at the second system.

       106. For example, www.hotwire.com and Hotwire mobile applications infringe claim 5 of



                                                44
the ’346 patent by, for example:

               a.     managing user authentication (such as verifying the identity of a Hotwire

user) within a distributed data processing system (such as a computer network), wherein a first

system (such as Facebook and its network) and a second system (such as Hotwire and its

network) interact within a federated computing environment (such as a computer network; for

example, the Internet, including Facebook and Hotwire) and support single-sign-on operations

(“Sign in” operations) in order to provide access to protected resources (such as the “My Trips”

option on www.hotwire or the My Trips option on the Hotwire mobile applications), at least one

of the first system and the second system comprising a processor, the method comprising;

               b.     triggering a single-sign-on operation (such as launching an operation to

“Sign In” using Facebook) on behalf of the user in order to obtain access to a protected resource

that is hosted by the second system, wherein the second system requires a user account for the

user to complete the single-sign-on operation (such as requiring the user to have a Hotwire

account) prior to providing access to the protected resource;

               c.     receiving from the first system at the second system an identifier

associated with the user (such as an email address, Facebook ID, or access token);

               d.     creating a user account (such as a Hotwire account) for the user at the

second system based at least in part on the received identifier associated with the user after

triggering the single-sign-on operation but before generating at the second system a response for

accessing the protected resource (such as the My Trips option on www.hotwire.com or the My

Trips option on the Hotwire mobile applications), wherein the created user account supports

single-sign-on operations (such as “Sign In” operations at hotwire.com using a Facebook

account) between the first system and the second system on behalf of the user; and



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               e.      in response to a determination at the second system that the second system

does not have sufficient user attribute information (e.g., the user access token is insufficient) to

complete creation of a user account for the user at the second system (such as Hotwire and its

network), sending a request message (e.g., calling an API) from the second system to the first

system (such as Facebook and its network) to retrieve user attribute information; and

               f.      receiving at the second system from the first system a response message

(e.g., a response to the API call) that contains user attribute information that is employed by the

second system to complete creation of a user account for the user at the second system.

       107. For example, www.orbitz.com and Orbitz mobile applications infringe claim 5 of the

’346 patent by, for example:

               a.      managing user authentication (such as verifying the identity of an Orbitz

user) within a distributed data processing system (such as a computer network), wherein a first

system (such as Facebook and its network) and a second system (such as Orbitz and its network)

interact within a federated computing environment (such as a computer network; for example,

the Internet, including Facebook and Orbitz) and support single-sign-on operations (“Sign in”

operations) in order to provide access to protected resources (such as the “My Trips” option), at

least one of the first system and the second system comprising a processor, the method

comprising;

               b.      triggering a single-sign-on operation (such as launching an operation to

“Sign In” using Facebook) on behalf of the user in order to obtain access to a protected resource

that is hosted by the second system, wherein the second system requires a user account for the

user to complete the single-sign-on operation (such as requiring the user to have an Orbitz

account) prior to providing access to the protected resource;



                                                46
               c.      receiving from the first system at the second system an identifier

associated with the user (such as an email address, Facebook ID, or access token);

               d.      creating a user account (such as an Orbitz account) for the user at the

second system based at least in part on the received identifier associated with the user after

triggering the single-sign-on operation but before generating at the second system a response for

accessing the protected resource (such as the “My Trips” option), wherein the created user

account supports single-sign-on operations (such as “Sign In” operations Orbitz using a

Facebook account) between the first system and the second system on behalf of the user;

               e.      in response to a determination at the second system that the second system

does not have sufficient user attribute information (e.g., the user access token is insufficient) to

complete creation of a user account for the user at the second system (such as Orbitz and its

network), sending a request message (e.g., calling an API) from the second system to the first

system (such as Facebook and its network) to retrieve user attribute information; and

               f.      receiving at the second system from the first system a response message

(e.g., a response to the API call) that contains user attribute information that is employed by the

second system to complete creation of a user account for the user at the second system.

       108. For example, www.travelocity.com and Travelocity mobile applications infringe

claim 5 of the ’346 patent by, for example:

               a.      managing user authentication (such as verifying the identity of a

Travelocity user) within a distributed data processing system (such as a computer network),

wherein a first system (such as Facebook and its network) and a second system (such as

Travelocity and its network) interact within a federated computing environment (such as a

computer network; for example, the Internet, including Facebook and Travelocity) and support



                                                47
single-sign-on operations (“Sign in” operations) in order to provide access to protected resources

(such as the “My Trips” option), at least one of the first system and the second system

comprising a processor, the method comprising;

               b.      triggering a single-sign-on operation (such as launching an operation to

“Sign In” using Facebook) on behalf of the user in order to obtain access to a protected resource

that is hosted by the second system, wherein the second system requires a user account for the

user to complete the single-sign-on operation (such as requiring the user to have a Travelocity

account) prior to providing access to the protected resource;

               c.      receiving from the first system at the second system an identifier

associated with the user (such as an email address, Facebook ID, or access token);

               d.      creating a user account (such as a Travelocity account) for the user at the

second system based at least in part on the received identifier associated with the user after

triggering the single-sign-on operation but before generating at the second system a response for

accessing the protected resource (such as the “My Trips” option), wherein the created user

account supports single-sign-on operations (such as “Sign In” operations Travelocity using a

Facebook account) between the first system and the second system on behalf of the user;

               e.      in response to a determination at the second system that the second system

does not have sufficient user attribute information (e.g., the user access token is insufficient) to

complete creation of a user account for the user at the second system (such as Travelocity and its

network), sending a request message (e.g., calling an API) from the second system to the first

system (such as Facebook and its network) to retrieve user attribute information; and

               f.      receiving at the second system from the first system a response message

(e.g., a response to the API call) that contains user attribute information that is employed by the



                                                48
second system to complete creation of a user account for the user at the second system.

           109. IBM has been damaged by the infringement of its ’346 patent by Expedia and

Defendants and will continue to be damaged by such infringement. IBM is entitled to recover

from Expedia and Defendants the damages sustained by IBM as a result of Expedia’s and

Defendants’ wrongful acts.

           110. The continued infringement by Expedia and Defendants of the ’346 patent is

deliberate and willful, entitling IBM to increased damages under 35 U.S.C. § 284 and to attorney

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

           111. IBM has suffered and continues to suffer irreparable harm, for which there is no

adequate remedy at law, and will continue to do so unless Expedia and Defendants are enjoined

therefrom by this Court.

                                       RELIEF REQUESTED

           Wherefore, IBM respectfully requests that this Court enter judgment against the

Defendants as follows:

           A.     That the ’967 patent has been infringed by Defendants;

           B.     That Defendants’ infringement of the ’967 patent has been willful;

           C.     That the ’849 patent has been and continues to be infringed by Defendants;

           D.     That Defendants’ infringement of the ’849 patent has been and continues to be

willful;

           E.     An injunction against further infringement of the ’849 patent;

           F.     That the ’601 patent has been infringed by Defendants;

           G.     That Defendants’ infringement of the ’601 patent has been willful;

           H.     That the ’346 patent has been and continues to be infringed by Defendants;

           J.     That Defendants’ infringement of the ’346 patent has been and continues to be
                                                  49
willful;

           K.      An injunction against further infringement of the ’346 patent;

           L.      An award of damages adequate to compensate IBM for the patent infringement

that has occurred, together with pre-judgment interest and costs;

           M.      An award of all other damages permitted by 35 U.S.C. § 284, including increased

damages up to three times the amount of compensatory damages found;

           N.      That this is an exceptional case and an award to IBM of its costs and reasonable

attorneys’ fees incurred in this action as provided by 35 U.S.C. § 285; and

           O.      Such other relief as this Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

           IBM hereby demands trial by jury on all claims and issues so triable



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